EXHIBIT B
                                                               CHART 1
                                                       SUBSTANTIVE HOURS
Date        Person       Client            Activity      Description                                                 Duration Time Totals
                                                         prep for client meet; revie documents and and pleadings and
   3-Jul-16 Nick Brustin Rosario (Richard) Review        video                                                            4:00         4.0

   4-Jul-16 Nick Brustin Rosario (Richard) Prep          prep for client m,eet; review docs and pleadings and reports   3:00           3.0
                                                         prep for meet and meet client and criminal counsel re case
   5-Jul-16 Nick Brustin Rosario (Richard) Meeting       and retainer                                                   4:42           4.7
                                                         prep for meet rr, review docs; meet rr re complaint and
   3-Nov-16 Nick Brustin Rosario (Richard) Meeting       discovery                                                      1:42           1.7
 15-Nov-16 Nick Brustin Rosario (Richard) Meeting        meet rr re discovery;                                          1:00           1.0
 23-Nov-16 Nick Brustin Rosario (Richard) Meeting        meet re appeal, doc collection                                 0:18           0.3
 22-Dec-16 Nick Brustin Rosario (Richard) Meeting        meet ef re complaint; tc rr and chip re filing                 1:00           1.0
   8-Feb-17 Nick Brustin Rosario (Richard) Meeting       Meet re: investigator                                          0:48           0.8
   6-Mar-17 Nick Brustin Rosario (Richard) Meeting       Meet re: complaint                                             0:12           0.2
 11-May-17 Nick Brustin Rosario (Richard) Meeting        prep for 50h; meet richard re 50h                              3:00           3.0
 16-May-17 Nick Brustin Rosario (Richard) Prep           prep rr re 50h                                                 1:30           1.5
    1-Jun-17 Nick Brustin Rosario (Richard) Meeting      meet patrick re witness interviews; review interview notes     1:42           1.7
  11-Jan-18 Nick Brustin Rosario (Richard) Meeting       prep for settle conference, settle conference                  7:30           7.5
  16-Apr-18 Nick Brustin Rosario (Richard) Meeting       Case meeting                                                   0:18           0.3
   31-Jul-18 Nick Brustin Rosario (Richard) Review       review docs, joint discovery plan edits                        2:12           2.2
   7-Sep-18 Nick Brustin Rosario (Richard) Meeting       meeting re: case strategy                                      0:18           0.3
                                                         review discovery, meet with ef re discovery; meet rr re
 10-Sep-18 Nick Brustin Rosario (Richard) Meeting        discovery responses                                            2:12           2.2
  9-Oct-18 Nick Brustin Rosario (Richard) Phone Call     Phone call w/ expert                                           0:24           0.4
 23-Oct-18 Nick Brustin Rosario (Richard) Deposition     Discuss deposition prep                                        0:12           0.2
  4-Dec-18 Nick Brustin Rosario (Richard) Meeting        meeting re: case strategy                                      0:24           0.4
 14-Dec-18 Nick Brustin Rosario (Richard) Meeting        Meet w/ NB, EF, AF re: deposition scheduling                   0:18           0.3

 17-Dec-18 Nick Brustin Rosario (Richard) Review         prep for eyewitness deps, review docs and Slepian interviews   3:00           3.0
 17-Dec-18 Nick Brustin Rosario (Richard) Meeting        meet w/ team                                                   0:30           0.5
 18-Dec-18 Nick Brustin Rosario (Richard) Review         review alibi witness stataments, meet re witness statements    2:30           2.5
 20-Dec-18 Nick Brustin Rosario (Richard) Prep           prep for eyewitness deps                                       3:42           3.7
 27-Dec-18 Nick Brustin Rosario (Richard) Phone Call     TC w/RS                                                        0:18           0.3
 28-Dec-18 Nick Brustin Rosario (Richard) Review         prep for eyewitness deps; tc emma and rick letters             4:00           4.0
31-Dec-18 Nick Brustin Rosario (Richard) Phone Call   meet rick re deps; review Slepian interviews; tc glenn re dep    1:00   1.0
                                                      pre for torres, sanches and davis deps, review transcripts and
 2-Jan-19 Nick Brustin Rosario (Richard) Prep         reports                                                          3:18   3.3
 4-Jan-19 Nick Brustin Rosario (Richard) Meeting      case strategy mtg                                                0:18   0.3
                                                      prep for eyewitness deps, torres, sanchez and davis; review
 6-Jan-19 Nick Brustin Rosario (Richard) Review       transcripts and docs                                             2:42   2.7
 8-Jan-19 Nick Brustin Rosario (Richard) Meeting      Meet w/ RS, EF, AF re: dep scheduling.                           0:12   0.2
 9-Jan-19 Nick Brustin Rosario (Richard) Meeting      case meeting/team meeting                                        0:42   0.7
14-Jan-19 Nick Brustin Rosario (Richard) Phone Call   TC w/ investigator                                               0:24   0.4
                                                      tc chip re dep; review docs for chip dep; tc glen garber re
                                                      dep, review docs re garber dep; prep for police and
15-Jan-19 Nick Brustin Rosario (Richard) Review       eyewitness deps; lunch meet Slepian re witnesses                 5:12   5.2
16-Jan-19 Nick Brustin Rosario (Richard) Meeting      Meet w/ RS, AF re case                                           1:18   1.3
17-Jan-19 Nick Brustin Rosario (Richard) Review       prep for eyewitness deps                                         2:12   2.2
18-Jan-19 Nick Brustin Rosario (Richard) Review       prep for eyewitness deps                                         3:48   3.8
21-Jan-19 Nick Brustin Rosario (Richard) Review       prep for eyewitness deps; review da file                         5:30   5.5
                                                      tc chip for dep prep, Richard dep prep, da doc review and
22-Jan-19 Nick Brustin Rosario (Richard) Review       motion, meet re discovery with team                              4:42   4.7
23-Jan-19 Nick Brustin Rosario (Richard) Phone Call   prep Richard for dep                                             2:30   2.5
24-Jan-19 Nick Brustin Rosario (Richard) Meeting      Team meeting                                                     0:36   0.6
                                                      review docs and interviews for garber dep; prep glenn and
25-Jan-19 Nick Brustin Rosario (Richard) Prep         rebecca                                                          2:30   2.5
25-Jan-19 Nick Brustin Rosario (Richard) Review       prep for eyewitness deps                                         3:30   3.5
26-Jan-19 Nick Brustin Rosario (Richard) Review       prep for eyewitness deps                                         6:00   6.0
28-Jan-19 Nick Brustin Rosario (Richard) Review       prep for sanchez and davis deps                                  4:42   4.7
                                                      prep for sanchez dep, tc and eamils to court re dep, sanchez
29-Jan-19 Nick Brustin Rosario (Richard) Deposition   dep, prep for davis dap                                          8:30   8.5
30-Jan-19 Nick Brustin Rosario (Richard) Deposition   prep for davis dep; davis dep; meet re davis dep                 3:48   3.8
                                                      prep for Richard dep; tc Kaiser, review Kaiser notes, prtep
 4-Feb-19 Nick Brustin Rosario (Richard) Review       for chip dep                                                     5:00   5.0
 5-Feb-19 Nick Brustin Rosario (Richard) Prep         prep for Richard dep                                             5:00   5.0
 6-Feb-19 Nick Brustin Rosario (Richard) Deposition   Richard dep                                                      8:18   8.3
 7-Feb-19 Nick Brustin Rosario (Richard) Review       prep for chip dep; prep for police deps                          5:42   5.7
 7-Feb-19 Nick Brustin Rosario (Richard) Meeting      Meet w/ RS, EF, LK, AF re: case strategy and depositions         0:36   0.6
 8-Feb-19 Nick Brustin Rosario (Richard) Review       prep for police deps; meet chip for dep prep                     6:12   6.2
11-Feb-19 Nick Brustin Rosario (Richard) Phone Call   tcs len and rick re deps                                        1:00   1.0
13-Feb-19 Nick Brustin Rosario (Richard) Review       edit motion, tc emma re edits                                   1:30   1.5
16-Feb-19 Nick Brustin Rosario (Richard) Review       prep for police deps                                            4:00   4.0
18-Feb-19 Nick Brustin Rosario (Richard) Review       prep for police deps (whit, Martinez, cruger)                   5:00   5.0
19-Feb-19 Nick Brustin Rosario (Richard) Review       prep for whit and mart deps                                     2:00   2.0
20-Feb-19 Nick Brustin Rosario (Richard) Review       prep for whit and Martinez deps                                 6:30   6.5
21-Feb-19 Nick Brustin Rosario (Richard) Review       prep for whit and martinez                                      4:12   4.2
22-Feb-19 Nick Brustin Rosario (Richard) Review       prep for Martinez and whit deps                                 4:42   4.7
24-Feb-19 Nick Brustin Rosario (Richard) Review       prep for Martinez and whitaker deps                             6:36   6.6
25-Feb-19 Nick Brustin Rosario (Richard) Review       prep for Martinez dep                                           5:42   5.7
26-Feb-19 Nick Brustin Rosario (Richard) Review       prep for garber dep; prep for Martinez dep                      8:18   8.3
27-Feb-19 Nick Brustin Rosario (Richard) Deposition   Martinez dep prep and dep;                                      8:42   8.7
28-Feb-19 Nick Brustin Rosario (Richard) Review       glen garber dep; prep for whitaker dep                          9:00   9.0
 1-Mar-19 Nick Brustin Rosario (Richard) Deposition   prep for whitaker dep; whitaker dep                             8:24   8.4
 3-Mar-19 Nick Brustin Rosario (Richard) Review       prep for cruger dep                                             3:00   3.0
 4-Mar-19 Nick Brustin Rosario (Richard) Review       prep for cruger dep                                             4:30   4.5
 5-Mar-19 Nick Brustin Rosario (Richard) Deposition   prep for cruger dep; cruger dep                                 6:00   6.0
 5-Mar-19 Nick Brustin Rosario (Richard) Meeting      Meet w/ RS re: Cruger dep                                       0:12   0.2
                                                      prep for Dysart cal, tc Dysart re report; prep for petrauskas
 6-Mar-19 Nick Brustin Rosario (Richard) Deposition   dep; petrauskas dep                                             6:30   6.5
 7-Mar-19 Nick Brustin Rosario (Richard) Phone Call   tc mediator re settle; prep for mediation                       0:36   0.6
                                                      meet re discovery deps and mediation with team; review
 7-Mar-19 Nick Brustin Rosario (Richard) Review       comparable cases                                                1:00   1.0
                                                      meet len, rick allie re discovery and mediation; mediation
 8-Mar-19 Nick Brustin Rosario (Richard) Review       prep; edit mediation letter                                     1:06   1.1
                                                      review discovery correspondence; emails and tcs settlement
11-Mar-19 Nick Brustin Rosario (Richard) Review       conference; tc rr re settle                                     1:24   1.4
12-Mar-19 Nick Brustin Rosario (Richard) Review       prep for mediation                                              2:00   2.0
                                                      prep for mediation, mediation; tc chip, emma re mediation; tc
13-Mar-19 Nick Brustin Rosario (Richard) Meeting      Richard re mediation                                            4:30   4.5
                                                      meet len and ef re discovery and extension; emails Richard
18-Mar-19 Nick Brustin Rosario (Richard) Meeting      re discovery, tc mediator                                       0:42   0.7
19-Mar-19 Nick Brustin Rosario (Richard) Meeting      Meet w/ RS, LK, EF re: case strategy, depositions               1:12   1.2
21-Mar-19 Nick Brustin Rosario (Richard) Meeting      Meet w/ Rick re: expert scheduling                              0:12   0.2
21-Mar-19 Nick Brustin Rosario (Richard) Phone Call   Phone call w/ expert Agharkar and RS                            0:24   0.4
                                                       meet team re deps and discovery, tc chip re Richard dep; tc
29-Mar-19 Nick Brustin Rosario (Richard) Review        Richard re deps                                                2:00   2.0

29-Mar-19 Nick Brustin Rosario (Richard) Meeting       Meet w/ RS, EF, LK, AF re: discovery, case strategy, experts   0:30   0.5
29-Mar-19 Nick Brustin Rosario (Richard) Meeting       meet re: case                                                  0:06   0.1
  1-Apr-19 Nick Brustin Rosario (Richard) Review       prep for Nicole torres dep; meet team re dep                   2:00   2.0
  2-Apr-19 Nick Brustin Rosario (Richard) Meeting      meet Nicole torres, prep for torres dep                        3:18   3.3
  3-Apr-19 Nick Brustin Rosario (Richard) Deposition   prep for torres dep, torres dep                                3:00   3.0
  8-Apr-19 Nick Brustin Rosario (Richard) Review       review expert materials; tc Dysart; tc agharkar re reports     3:00   3.0
 12-Apr-19 Nick Brustin Rosario (Richard) Meeting      Meet re: psych expert report, requests to admit                0:42   0.7
 15-Apr-19 Nick Brustin Rosario (Richard) Review       edit rta, prep for sanchez and rr deps                         1:42   1.7
 16-Apr-19 Nick Brustin Rosario (Richard) Review       review draft report, tc agharkar re report                     2:12   2.2
 18-Apr-19 Nick Brustin Rosario (Richard) Review       prep for sanchez dep and Richard dep                           3:00   3.0
 22-Apr-19 Nick Brustin Rosario (Richard) Meeting      meet rick and len re sanchez dep; prep for sanchez dep         1:30   1.5
 23-Apr-19 Nick Brustin Rosario (Richard) Prep         prep for sanchez dep                                           5:30   5.5
 24-Apr-19 Nick Brustin Rosario (Richard) Deposition   prep for sanchez dep; sanchez dep                              6:00   6.0
 29-Apr-19 Nick Brustin Rosario (Richard) Prep         review docs for dep, prep Richard for dep                      3:30   3.5
 29-Apr-19 Nick Brustin Rosario (Richard) Review       review silverman outline, meet len for dep prep                2:48   2.8
 2-May-19 Nick Brustin Rosario (Richard) Deposition    prep for dep and dep of richard                                8:30   8.5
 3-May-19 Nick Brustin Rosario (Richard) Review        edit expert reports                                            1:42   1.7
 7-May-19 Nick Brustin Rosario (Richard) Review        edit agharkar report                                           1:30   1.5
 7-May-19 Nick Brustin Rosario (Richard) Review        edit Dysart report; tc rick and emma re report                 2:00   2.0
 8-May-19 Nick Brustin Rosario (Richard) Review        edit Dysart report meet rick and emma re edits                 2:42   2.7
 9-May-19 Nick Brustin Rosario (Richard) Deposition    prep for silverman and silverman dep                           3:00   3.0
10-May-19 Nick Brustin Rosario (Richard) Meeting       Meet w/ RS, LK re: dep prep                                    0:30   0.5
13-May-19 Nick Brustin Rosario (Richard) Prep          prep with len for dep                                          1:30   1.5
14-May-19 Nick Brustin Rosario (Richard) Deposition    fortunato dep and prep with len                                1:30   1.5
15-May-19 Nick Brustin Rosario (Richard) Review        prep for guanica dep                                           1:30   1.5
16-May-19 Nick Brustin Rosario (Richard) Review        prep for guanica Collazo dep; Collazo dep                      4:30   4.5
                                                       meet team re deps and response to interrogs; schedule
20-May-19 Nick Brustin Rosario (Richard) Review        Gonzales dep; review interrogs                                 1:00   1.0
22-May-19 Nick Brustin Rosario (Richard) Meeting       Meet re: rog responses                                         0:42   0.7
23-May-19 Nick Brustin Rosario (Richard) Meeting       Meet w/ RS re: Alex Gonzalez dep prep                          0:18   0.3
29-May-19 Nick Brustin Rosario (Richard) Meeting       meet w/ RS re: dep prep--Alex Gonzalez                         0:12   0.2
  3-Jun-19 Nick Brustin Rosario (Richard) Deposition   prep for Gonzales dep, Gonzales dep                            3:00   3.0
  5-Jun-19 Nick Brustin Rosario (Richard) Phone Call   phone call w/Chip                                              0:48   0.8
12-Jun-19 Nick Brustin Rosario (Richard) Review              meet re daubert response, edit response                     0:30   0.5
 8-Jul-19 Nick Brustin Rosario (Richard) Phone Call          call re: 440                                                0:24   0.4
 9-Jul-19 Nick Brustin Rosario (Richard) Meeting             meet re: defendant report                                   0:12   0.2
                                                             meeting with rick and emma to discuss Richard instagram
 22-Jul-19 Nick Brustin Rosario (Richard) Meeting            issues                                                      0:18   0.3
13-Aug-19 Nick Brustin Rosario (Richard) Phone Call          Phone call w/ Chip, RS                                      0:18   0.3
 3-Sep-19 Nick Brustin Rosario (Richard) Meeting             Meet w/ RS, EF re: experts, discovery                       0:18   0.3

 4-Sep-19 Nick Brustin Rosario (Richard) Review           review expert reports, prep for expert deps, meet re experts   3:42   3.7
                                                          prep for calls with osych experts re def experts, prep for
                                                          Dysart call re def expert; prep for expert deps of psych,
  6-Sep-19 Nick Brustin Rosario (Richard) Review          review all reports                                             4:42   4.7
  7-Sep-19 Nick Brustin Rosario (Richard) Review          prep for mickes dep                                            1:42   1.7
  8-Sep-19 Nick Brustin Rosario (Richard) Review          prep for mickes dep, mickes research                           2:00   2.0
  9-Sep-19 Nick Brustin Rosario (Richard) Meeting         Meet w/ EF & RS re: expert deps                                0:12   0.2
10-Sep-19 Nick Brustin Rosario (Richard) Meeting          meet to discuss expert deps                                    0:48   0.8
11-Sep-19 Nick Brustin Rosario (Richard) Meeting          Meet w/ EF, RS re discovery letter                             0:24   0.4
12-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep and sj, digest police deps                 2:12   2.2
13-Sep-19 Nick Brustin Rosario (Richard) Review           digest deps for mickes and sj                                  2:00   2.0
15-Sep-19 Nick Brustin Rosario (Richard) Review           digest police deps for mickes and sj                           1:42   1.7
17-Sep-19 Nick Brustin Rosario (Richard) Meeting          Meet w/ RS re: expert dep                                      0:12   0.2
18-Sep-19 Nick Brustin Rosario (Richard) Meeting          Meet w/ RS, LK re: experts , discovery                         0:48   0.8
19-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep                                            3:42   3.7
20-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep, Dysart report                             5:00   5.0
21-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep                                            4:00   4.0
22-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep                                            3:18   3.3
23-Sep-19 Nick Brustin Rosario (Richard) Review           tc Dysart re report, review psych reports, prep for mickes     2:00   2.0
23-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep                                            1:48   1.8
24-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep                                            3:18   3.3
25-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep                                            5:30   5.5
26-Sep-19 Nick Brustin Rosario (Richard) Review           prep for mickes dep, mickes dep                                8:42   8.7
  3-Oct-19 Nick Brustin Rosario (Richard) Review          prep Dysart for dep, prep for psych deps                       4:36   4.6
 16-Oct-19 Nick Brustin Rosario (Richard) Meeting         Dep prep meeting with Avi and Rick                             0:30   0.5
 5-Nov-19 Nick Brustin Rosario (Richard) Phone Call       Phone call w/ RS & EF re: SJ letter                            0:12   0.2
12-Nov-19 Nick Brustin Rosario (Richard) Court appearance discuss pre motion conference with emma                        0:48   0.8
  4-Dec-19 Nick Brustin Rosario (Richard) Review          review docs and expert reprots re sj, meet team re sj          2:30   2.5
18-Dec-19 Nick Brustin Rosario (Richard) Meeting          Meet w/ RS, EF, ABH, AS, AF re: summary jgmt response               1:00   1.0
20-Dec-19 Nick Brustin Rosario (Richard) Meeting          prep for sj, review digests, meet re sj facts                       3:30   3.5
 10-Jan-20 Nick Brustin Rosario (Richard) Review          review motions                                                      2:30   2.5
 13-Jan-20 Nick Brustin Rosario (Richard) Meeting         Meet w/ RS, ABH, EF, AS, AF, BR re: MSJ response                    0:54   0.9
 13-Jan-20 Nick Brustin Rosario (Richard) Meeting         Meet w/ RS re: R 56.1 statement                                     0:06   0.1
 14-Jan-20 Nick Brustin Rosario (Richard) Review          review facts for sj, meet re facts                                  3:00   3.0
 16-Jan-20 Nick Brustin Rosario (Richard) Meeting         Meet w/ RS, EF, ABH, AS, AF re: MSJ                                 1:00   1.0
 23-Jan-20 Nick Brustin Rosario (Richard) Review          edit facts                                                          2:12   2.2
  7-Feb-20 Nick Brustin Rosario (Richard) Review          edit facts, meet re facts and breif                                 3:00   3.0
10-Feb-20 Nick Brustin Rosario (Richard) Review           edit facts                                                          5:00   5.0
14-Feb-20 Nick Brustin Rosario (Richard) Review           edit facts, meet re edits                                           5:00   5.0
17-Feb-20 Nick Brustin Rosario (Richard) Review           edit facts                                                          2:18   2.3
18-Feb-20 Nick Brustin Rosario (Richard) Review           edit brief and facts, meet re edits                                 5:42   5.7
20-Feb-20 Nick Brustin Rosario (Richard) Review           sj response edits                                                   4:00   4.0
 21-Jan-21 Nick Brustin Rosario (Richard) Phone Call      talk to anna/emma re: daubert plan                                  0:24   0.4
 22-Jan-21 Nick Brustin Rosario (Richard) Phone Call      W/ anna, emma, katie haas, kayla, talk to chip re: Strategy         0:30   0.5
                                                          review sj decision, review exopert reports, meet re daubert,
 22-Jan-21 Nick Brustin Rosario (Richard) Review          tc chip re settle                                                   3:00   3.0
10-Feb-21 Nick Brustin Rosario (Richard) Review           meet re trial prep, review docs                                     2:12   2.2
                                                          W/ anna, katie H., amelia, Talk to chris ritter and arif re: Jury
12-Feb-21 Nick Brustin Rosario (Richard) Phone Call       consulting                                                          0:30   0.5
18-Feb-21 Nick Brustin Rosario (Richard) Meeting          meet w trial team re pre trial                                      1:00   1.0
23-Feb-21 Nick Brustin Rosario (Richard) Meeting          tc chip re trial and settle, motion to dismiss conviction           1:00   1.0
                                                          w/ emma and anna discuss prep for status conference re: trial
24-Feb-21 Nick Brustin Rosario (Richard) Phone Call       procedure                                                           0:24   0.4
25-Feb-21 Nick Brustin Rosario (Richard) Court appearance Telephonic court appearance w/ anna, katie haas, kayla              0:48   0.8
25-Feb-21 Nick Brustin Rosario (Richard) Meeting          W/ anna, amelia, katie h. Talk to jury consultant re voir dire      1:00   1.0
 5-Mar-21 Nick Brustin Rosario (Richard) Review           prep for trial, tc re trial prep                                    2:00   2.0
 9-Mar-21 Nick Brustin Rosario (Richard) Review           review motions, meet re motions                                     2:24   2.4
23-Mar-21 Nick Brustin Rosario (Richard) Review           review mils                                                         1:00   1.0
                                                          W/ anna, katie h, yasmin meet w/ jury consultants re: Motion
31-Mar-21 Nick Brustin Rosario (Richard) Meeting          for jury questionnaire                                              0:30   0.5
  9-Apr-21 Nick Brustin Rosario (Richard) Phone Call      W/ anna, emma, katie h discuss draft jury instructions              0:42   0.7
                                                          w/ anna, emma, katie h, yasmin, jahne, kayla discuss draft
19-Apr-21 Nick Brustin Rosario (Richard) Meeting          jury questionnaire                                                  1:30   1.5
14-May-21 Nick Brustin Rosario (Richard) Review             review deps and digests for mils and trial prep               4:48   4.8
18-May-21 Nick Brustin Rosario (Richard) Meeting            Meeting with Katie H and Emma re Rosario priorities           0:15   0.3
24-May-21 Nick Brustin Rosario (Richard) Review             review bronx filing, tc re filing                             1:30   1.5
  2-Jun-21 Nick Brustin Rosario (Richard) Review            jury questionair and motion                                   1:00   1.0
 10-Jun-21 Nick Brustin Rosario (Richard) Review            meet re rosario mil, review testimony                         2:42   2.7
 17-Jun-21 Nick Brustin Rosario (Richard) Review            edit mils                                                     1:30   1.5
 21-Jun-21 Nick Brustin Rosario (Richard) Meeting           W/ anna, emma, katie h, christina, kayla discuss MIL opp      0:48   0.8
 21-Jun-21 Nick Brustin Rosario (Richard) Review            edit mils, meet re edits                                      1:48   1.8
 22-Jun-21 Nick Brustin Rosario (Richard) Review            edit mils                                                     2:00   2.0
 23-Jun-21 Nick Brustin Rosario (Richard) Review            edit mils, meet re edits                                      1:48   1.8
 24-Jun-21 Nick Brustin Rosario (Richard) Review            review mils from defs                                         1:18   1.3
   8-Jul-21 Nick Brustin Rosario (Richard) Review           meet kh re dateline clips, review mils                        2:00   2.0
 12-Jul-21 Nick Brustin Rosario (Richard) Phone Call        Talk to anna, emma, re: MIL strategy                          0:12   0.2
 13-Jul-21 Nick Brustin Rosario (Richard) Meeting           W/ nick, emma discuss edits to MIL opposition                 0:30   0.5
 20-Jul-21 Nick Brustin Rosario (Richard) Meeting           meet richard re trial                                         1:00   1.0
27-Aug-21 Nick Brustin Rosario (Richard) Review             review aff, review questionairre, meet re consultants         1:30   1.5
                                                            Trial prep call with Emma, Katie H, Kayla, and follow-up
 1-Sep-21 Nick Brustin Rosario (Richard) Phone Call         notes/tasks                                                   0:18   0.3
 3-Sep-21 Nick Brustin Rosario (Richard) Phone Call         call with emma                                                0:22   0.4
 7-Sep-21 Nick Brustin Rosario (Richard) Meeting            review pre trial docs, meet re pretrial docs                  2:12   2.2
10-Sep-21 Nick Brustin Rosario (Richard) Phone Call         call with Kayla, Emma, and Katie H. jpto                      0:18   0.3
                                                            W/ anna, katie h, emma discuss jury questionnaire, verdict
16-Sep-21 Nick Brustin Rosario (Richard) Phone Call         sheet                                                         0:30   0.5
28-Sep-21 Nick Brustin Rosario (Richard) Review             rosario voir dire, meet re voir dire                          3:00   3.0
 6-Oct-21 Nick Brustin Rosario (Richard) Review             edit pre trial docs, meet re pretrial docs, tc rr re trial    3:00   3.0
26-Oct-21 Nick Brustin Rosario (Richard) Phone Call         Call with Adam Bloom, Emma, Emma, and Katie H.                0:18   0.3
 2-Dec-21 Nick Brustin Rosario (Richard) Phone Call         W/ anna, emma, katie h, kayla discuss trial prep              0:12   0.2
 6-Dec-21 Nick Brustin Rosario (Richard) Meeting            court conference re trial, meet with emma anna katie anna     2:12   2.2
 7-Dec-21 Nick Brustin Rosario (Richard) Meeting            W/ emma, anna, katie h, kayla review trial exhibits           3:30   3.5
 8-Dec-21 Nick Brustin Rosario (Richard) Review             prep for trial, pretrial docs, designations,                  7:48   7.8
                                                            W/ anna, emma, katie h, gerardo, cam discuss trial prep,
 9-Dec-21 Nick Brustin Rosario (Richard) Meeting            pretrial filings                                              1:36   1.6

14-Dec-21 Nick Brustin Rosario (Richard) Review           prep for pretrial, dep designation, review deps and testimony   7:48   7.8
15-Dec-21 Nick Brustin Rosario (Richard) Prep             trial prep, dep designations                                    7:12   7.2
16-Dec-21 Nick Brustin Rosario (Richard) Court appearance pretrial conference and trial prep, whitaker cross              8:42   8.7
17-Dec-21 Nick Brustin Rosario (Richard) Prep                trial prep, designations, whitaker cross                             9:00    9.0
18-Dec-21 Nick Brustin Rosario (Richard) Prep                trial prep whitaker and cruger                                       4:00    4.0
19-Dec-21 Nick Brustin Rosario (Richard) Prep                trial prep whitaker and richard                                      3:48    3.8
20-Dec-21 Nick Brustin Rosario (Richard) Prep                trial prep whiotaker and sanchez                                     4:00    4.0
                                                             prep for pretrial conference, pretrial conference, prep for trial
21-Dec-21 Nick Brustin Rosario (Richard) Court appearance    nicole torres                                                        7:30    7.5
22-Dec-21 Nick Brustin Rosario (Richard) Review              prep for trial sanchez and cruger                                    4:00    4.0
23-Dec-21 Nick Brustin Rosario (Richard) Review              prep for trial sanchez                                               7:12    7.2
24-Dec-21 Nick Brustin Rosario (Richard) Review              prep for trial cruger                                                6:30    6.5
25-Dec-21 Nick Brustin Rosario (Richard) Review              prep for trial cruger                                                5:00    5.0
26-Dec-21 Nick Brustin Rosario (Richard) Review              prep for trial richard and whitaker                                  6:42    6.7
27-Dec-21 Nick Brustin Rosario (Richard) Review              edit opening, whitaker, sanchez, davis                               9:30    9.5
28-Dec-21 Nick Brustin Rosario (Richard) Review              prep for richard, meet richard, trial strateguy meet                10:42   10.7
29-Dec-21 Nick Brustin Rosario (Richard) Prep                prep for trial - davis, cruger, alexis gonzalis,                    10:18   10.3
30-Dec-21 Nick Brustin Rosario (Richard) Review              edit opening, meet richard, dysart, psych experts                   11:00   11.0
31-Dec-21 Nick Brustin Rosario (Richard) Review              davis, sanchez, cruger opening                                       7:00    7.0
  4-Jan-22 Nick Brustin Rosario (Richard) Phone Call         call anna, emma, katie h, gerardo, kayla, cam next steps             0:30    0.5
  5-Jan-22 Nick Brustin Rosario (Richard) Phone Call         anna, emma, Katie h, gerardo trial date                              0:24    0.4
  5-Jan-22 Nick Brustin Rosario (Richard) Loan               with Katie, review Richard loans                                     0:21    0.4
  8-Jan-22 Nick Brustin Rosario (Richard) Review             trial prep, rihcard direct, police defs                              5:30    5.5
  9-Jan-22 Nick Brustin Rosario (Richard) Review             prep for trial, experts                                              4:48    4.8
 10-Jan-22 Nick Brustin Rosario (Richard) Review             prep for trial, eywtinesses, opening, meet team, def direct          7:30    7.5
 11-Jan-22 Nick Brustin Rosario (Richard) Review             meet re demonstratives, opening, richard prep                        4:00    4.0
 12-Jan-22 Nick Brustin Rosario (Richard) Court appearance   prep for conference, prep richard, conference                        7:48    7.8
 13-Jan-22 Nick Brustin Rosario (Richard) Review             prep for trial                                                       4:36    4.6
 14-Jan-22 Nick Brustin Rosario (Richard) Court appearance   prep for trial, conference with court                                2:48    2.8
10-May-22 Nick Brustin Rosario (Richard) Review              review motions, meet re trial                                        2:00    2.0
                                                             meet re conference, court conference, review motions and
25-May-22 Nick Brustin Rosario (Richard) Court appearance    trial prep                                                           3:00    3.0
 13-Jun-22 Nick Brustin Rosario (Richard) Review             edit opening, trial prep                                             2:18    2.3
 14-Jun-22 Nick Brustin Rosario (Richard) Review             rosario opnening                                                     2:18    2.3
 16-Jun-22 Nick Brustin Rosario (Richard) Meeting            onboarding new team members                                          0:30    0.5
 16-Jun-22 Nick Brustin Rosario (Richard) Meeting            team meet re trial                                                   1:00    1.0
 30-Jun-22 Nick Brustin Rosario (Richard) Review             prep for trial, richard direct, review mils,                         4:00    4.0
   5-Jul-22 Nick Brustin Rosario (Richard) Review            prep for trial, whitaker,                                            2:00    2.0
   6-Jul-22 Nick Brustin Rosario (Richard) Review            prep for trial, exhibits, alibi docs                                 3:18    3.3
 7-Jul-22 Nick Brustin Rosario (Richard) Review             prep for trial, richard, experts, alibi outlines                  1:54    1.9
                                                            prep for trial, review rr testimony prep rr, review
 8-Jul-22 Nick Brustin Rosario (Richard) Review             designations                                                      5:00    5.0
 9-Jul-22 Nick Brustin Rosario (Richard) Review             prep for trial, whitaker                                          5:36    5.6
10-Jul-22 Nick Brustin Rosario (Richard) Review             prep for trial whitaker; sanchez                                  4:48    4.8
                                                            edit opening, meet re opening, meet psych re richard, prep
11-Jul-22 Nick Brustin Rosario (Richard) Review             for richard,                                                      7:30    7.5
12-Jul-22 Nick Brustin Rosario (Richard) Review             prep richard, alibi witness outlines, cruger outline              8:18    8.3
13-Jul-22 Nick Brustin Rosario (Richard) Review             alibi outline, cruger outline, sanchez outline, davis outline     5:48    5.8
                                                            davis ouitline, open edits, richard prep, review opsych
14-Jul-22 Nick Brustin Rosario (Richard) Review             reprots, mneet agharkar                                           8:48    8.8
15-Jul-22 Nick Brustin Rosario (Richard) Review             chip outline, meet chip, meet jury consultants,                   8:36    8.6
16-Jul-22 Nick Brustin Rosario (Richard) Review             meet riochard re dep; dysart outline, cruger outline,             5:00    5.0
                                                            edit opening and dysart, meet re open and dysart w/emma,
17-Jul-22 Nick Brustin Rosario (Richard) Review             cruger outline                                                    3:30    3.5
                                                            team meet, edit torres, edit dysart, meet re dysart, edit text
18-Jul-22 Nick Brustin Rosario (Richard) Review             motion, tcs re texts w expert, davis outline                      7:18    7.3
19-Jul-22 Nick Brustin Rosario (Richard) Court appearance   trial prep and pretrial conference                                9:30    9.5
20-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        7:48    7.8
21-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        8:24    8.4
22-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        7:06    7.1
23-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        7:24    7.4
24-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                       10:00   10.0
25-Jul-22 Nick Brustin Rosario (Richard) Court appearance   trial and trial prep                                             14:00   14.0
26-Jul-22 Nick Brustin Rosario (Richard) Court appearance   trial and trial prep                                             10:12   10.2
27-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        8:18    8.3
28-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        7:54    7.9
29-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        9:06    9.1
30-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                        7:00    7.0
31-Jul-22 Nick Brustin Rosario (Richard) Prep               trial prep                                                       10:30   10.5
1-Aug-22 Nick Brustin Rosario (Richard) Court appearance    trial and trial prep                                             14:48   14.8
2-Aug-22 Nick Brustin Rosario (Richard) Court appearance    trial and trial prep                                             14:00   14.0
3-Aug-22 Nick Brustin Rosario (Richard) Court appearance    trial and trial prep                                             14:12   14.2
4-Aug-22 Nick Brustin Rosario (Richard) Court appearance    trial and trial prep                                             10:00   10.0
5-Aug-22 Nick Brustin Rosario (Richard) Prep                trial prep                                                        9:24    9.4
6-Aug-22 Nick Brustin Rosario (Richard) Prep                trial prep                                                        9:30    9.5
 7-Aug-22 Nick Brustin Rosario (Richard) Prep               trial prep                                               10:00     10.0
 8-Aug-22 Nick Brustin Rosario (Richard) Court appearance   trial and trial prep                                     14:30     14.5
 9-Aug-22 Nick Brustin Rosario (Richard) Court appearance   trial and trial prep                                     18:00     18.0
10-Aug-22 Nick Brustin Rosario (Richard) Court appearance   trial and prep                                           10:00     10.0
11-Aug-22 Nick Brustin Rosario (Richard) Prep               tcs re jury deliberations                                 1:30      1.5
25-Aug-22 Nick Brustin Rosario (Richard) Phone Call         W/ emma, anna, chip talk to richard re: Next steps        0:24      0.4

                                                                                                                 Total       1010.0
                                      CHART 2
                                  TRAVEL HOURS
Date      Person       Client            Activity Description Duration Time Totals
17-May-19 Nick Brustin Rosario (Richard) Travel travel home        1:30        1.5

                                                            Total              1.5
                                                       CHART 3
                                                FEE PETITION HOURS
Date       Person         Client            Activity Description                                 Duration Time Totals
24-Aug-22 Nick Brustin    Rosario (Richard) Review   meet re fees and appeal                         1:30         1.5
25-Aug-22 Nick Brustin    Rosario (Richard) Review   meet re appeal                                  1:00         1.0
26-Aug-22 Nick Brustin    Rosario (Richard) Review   fees                                            1:30         1.5
 16-Sep-22 Nick Brustin   Rosario (Richard) Review   meet re fees                                    1:00         1.0
  4-Oct-22 Nick Brustin   Rosario (Richard) Review   review and edit declarations                    2:48         2.8
  5-Oct-22 Nick Brustin   Rosario (Richard) Review   review brief and declaration                    2:00         2.0
  6-Oct-22 Nick Brustin   Rosario (Richard) Review   review brief and declaration and expenses       2:30         2.5

                                                                                                 Total           12.3
